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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                        MONROE DIVISION


UNITED STATES OF AMERICA                                CR. ACTION NO. 08-00212-01

VERSUS                                                  JUDGE ROBERT G. JAMES

RONALD LATRON JONES                                     MAG. JUDGE KAREN L. HAYES


                                     MEMORANDUM ORDER

        Pending before the Court is a Petition for Modification of the Terms of Supervised Release

[Doc. No. 73] for Defendant Ronald Latron Jones (“Jones”). The United States Probation Office

reported that Jones violated conditions of his supervised release by (1) failing to submit monthly

reports to the probation office for December 2010 and January, February, March, and April, 2011; (2)

failing to submit monthly restitution payments; (3) failing, during April and May 2011, to attend

weekly group sessions for the treatment of drug and/or alcohol addiction; and (4) failing to notify his

probation officer within 72 hours that a bench warrant was issued after he failed to appear in court on

a traffic violation.

        A hearing on the Petition was originally set for September 6, 2011. On that date, the Court

heard testimony from the United States Probation Officer on Jones’ violations. The Court found that

Jones had committed the stated violations of his supervised release. However, after a conference in

Chambers with counsel for the Government, counsel for Jones, and the Probation Officer, the Court

determined that it would defer action while the parties tried to resolve any outstanding issues. A

second hearing was set for October 3, 2011.

        On October 3, 2011, the Court again met with counsel and the Probation Officer. The

Government and Jones agreed to a modification to his supervised release prohibiting him from
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assisting or being involved in any way in the preparation of income tax returns. See [Doc. No. 82].

The Court again deferred Jones’ revocation hearing until January 3, 2012.

           On November 18, 2011, the Court signed an Order [Doc. No. 81] modifying Jones’

conditions of supervised release to include the following condition: “Refrain from obtaining

employment in any capacity in the tax preparation field, including spouse’s tax preparation business.”

           On December 21, 2011, at the request of the Probation Officer, the Court continued Jones’

January 3, 2012 revocation hearing until April 10, 2012.

           On April 5, 2012, the Probation Officer requested that the Court take no further action at this

time. Therefore,

           IT IS ORDERED that the Petition for Modification of Supervised Release [Doc. No. 73] is

DENIED and DISMISSED, subject to re-urging should Jones further violate his terms of supervised

release.

           MONROE, LOUISIANA, this 5th day of April, 2012.




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